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ME$:§S%§§;S;F;$SE§§ all .9 p.. 21 s
W§h'»-§ 51 . 50ng
HOWARDTERR“ Cl“l%”‘°“”~»\€‘§”
Plaintiff,
"~ NO. 05-2283 B P

MEMPHIS HOUSING AUTHORITY, and
ROBERT LIPSCOMB, in his offlcial
Position as Executive Director,

Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to Written notice, a scheduling conference Was held July 2l, 2005. Present were
Wanda Abioto, counsel for plaintiff, and Lisa A. Krupicka of Burch, Porter & Johnson, PLLC,

counsel for defendants At the conference, the following dates were established as the final dates

for:
INITIAL DISCLOSURES RULE 26(9.)(]): August 4, 2005
JOINTNG PARTIES:
For Plaintiff: September 2 l, 2005
F or Defendant: October 21 , 2005
AMENDlNG PLEADINGS:
For Plaintiff: September 21, 2005
For Defendant: October 21 , 2005
INlTlAL MOTIONS TO DISMISS: October 2l, 2005
COMPLETING ALL DISCOVERY: March 21, 2006
(a) DOCUMENT PRODUCTION: March 21, 2006

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(b) DEPosIrioNs,INTERROGATORIES

AND REQUEsTs FoR ADMIssloNs; January 23, 2006
(c) ExPERr wirNEss DIsCLosURE;
(Rule 26)
(i) DiscLosuRE or PLAINTIFF’s
RULE 26 ExPERr rNFoRMArIoN: January 23, 2006
(2) oiscLosuRE or DEFENDANr’s
RULE 26 ExPERT rNFoRMA'rIoN; February 23, 2006
(3) ExPERr wirNEss DEPoslrroNs; Mar@h 23, 2006
FILING olsPosthvE MorloNs; April 24, 2006

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

l\/lotions to compel discovery are to be filed and served by the discovery deadline or
within thirty days of the default or the service of the response, answer, or objection, Which is the
subject of the motion, if the default occurs within thirty days of the discovery deadline, unless
the time for filing of such motion is extended for good cause shown, or the objection to the
default, response, answer, or objection shall be waived.

This case is set for JURY TRIAL, and the trial is expected to last 3-4 days. The pretrial
order date, pretrial conference date, and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply

is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties have/have not consented to trial before the magistrate judge.

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This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or

extended
mw

TU M. PHAM
UNITED STATES MAGISTRATE .TUDGE

:\`»~\»\ r\. mr
DATE U

lT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02283 Was distributed by fax, mail, or direct printing on
.luly 20, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

